\) Case 2:04-cv-02596-SHI\/|-dkv Document 19 Filed 05/27/05 ~Page 1 of 4 Page|D 28

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IN THE UNITED sTATEs DIsTRICT CoURT m§} f' Y---~-»D-C
FoR THE WESTERN DISTRICT oF TENNESSEE ~ ,. “
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Ma'.§a::;__. __t.j.*;~?‘ DIST. il
BILLY ALLRED,DECEASED, v iii f\!?EF`$PHIS
MARY MCCAIN AND JANICE SHUFFIELD,

AS PETITIONERS and ADMINISTRATRICES,
Plaintiffs,
v. DOCKET No.: 04-2596-Ma V
MID-SOUTH TISSUE BANK, INC.,
UNITED DONOR SERVICES, LLC,
CATHY UNDERWOOD, TIMOTHY
BRAHM and KEVIN FOLEY, M.D.,

Defendants.

 

CONSENT ORDER FOR ENLARGEMENT OF TIME TO JOIN PAR'I`IES, AMEND
PLEADINGS, AND FILE AN INITIAL MOTION TO DISMISS

 

Now on this 16th day of May, 2005, come the parties by and through counsel and enter
into this agreement that Defendants Mid-South Tissue Bank, Inc., United Donor Services, laLC,
Cathy Underwood, Timothy Brahrn and Kevin Foley, M.D. and Plaintiffs, Billy Allred,
Deceased, Mary McCain and Janice Shuffield, be granted additional time pursuant to Rule 6 of
the F ederal Rules of Civil Procedure of 60 days to Join Parties and Amend Pleadings, and an
additional 60 days to tile Initial Motions to Dismiss. Pursuant to the Scheduling Order entered in
this matter on February 28, 2005, the deadline for Joining Parties and Amending Pleadings is
May 15 , 2005 and the deadline for filing an lnitial Motion to Disrniss is June 15 , 2005.

Therefore, if this order is granted, the parties’ deadline for Joining Parties and Alnending

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Pleadings shall be July 15, 2005, and the parties’ deadline for filing Initial Motions to Dismiss
shall be August 15, 2005.

Both parties are requesting an enlargement of time since they have not been able to obtain
a complete set of medical records, including radiographs, in this matter despite a great deal of
effort expended Since this case involves medical treatment, a complete medical chronology is
critical for a full evaluation of the case by both the plaintiffs and the defendants

The Court finds that for good cause shown, and by agreement of the parties, the request
for an extension of time should be granted

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED

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DARRELL ET B" R, JR. #16383
DEBORAH WHITT #16949
Attorney for the Defendants

Mid-South Tissue Bank, United Donor
Services, LLC, Cathy Underwood,
Timothy Brahm and Kevin Foley, M.D.
6800 Poplar Avenue - Suite 205
Memphis, TN 38138

(901)737'5656

(901)737-5606fax

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J iE W. HOWELL, JR. #16361
P.o. BOX 193

7090 Malco Boulevard, Suite lll
Southaven, MS 3867l

Page 3 of 3

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02596 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

ESSEE

 

Darrell E. Baker

BAKER & WH[TT PLLC
6800 Poplar Ave.

Ste. 205

l\/lemphis7 TN 38138

Jamie W. HoWell

GILDER HOWELL & ASSOCIATES, P.A.

7090 Malco Blvd.
Ste. ll l
Southaven, MS 38671

Jefferson D. Gilder

GILDER HOWELL & ASSOCIATES, P.A.

7090 Malco Blvd.
Ste. ll l
Southaven, MS 38671

Honorable Samuel Mays
US DISTRICT COURT

